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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


DREW DIXON,                                 Case No. 1:23-cv-09878-VEC
                                            Assigned to the Hon. Valerie Caproni
                   Plaintiff,

         vs.
                                            Action Filed: November 8, 2023
                                            Courtroom 443
ANTONIO MARQUIS “L.A.’ REID,

                   Defendant.




                                  ANSWER TO COMPLAINT




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         Defendant Antonio Marquis “L.A.” Reid (“Reid” or “Defendant”) hereby

answers the Complaint of Plaintiff Drew Dixon (“Dixon” or “Plaintiff”) as follows:

                                     INTRODUCTION
         1.        Answering Paragraph 1, Defendant admits that Dixon previously

worked as an A&R executive. Defendants lacks sufficient information and belief

on which to admit or deny the remaining allegations in Paragraph 1, and on that

basis the allegations are denied.

         2.        Answering Paragraph 2, Defendant lacks sufficient information and

belief on which to admit or deny the allegations relating to Russell Simmons, and

on that basis the allegations are denied. Defendant denies the remaining allegations

in Paragraph 2.

         3.        Answering Paragraph 3, Defendant denies the allegations.

                        PARTIES, JURISDICTION, AND VENUE
         4.        Answering Paragraph 4, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         5.        Answering Paragraph 5, Defendant admits the allegation.

         6.        Answering Paragraph 6, Defendant admits that Plaintiff purports to

seek damages exceeding $75,000. Defendant lacks sufficient information and

belief on which to admit or deny that the action is between citizens of different

states, and the allegation is denied on that basis.


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         7.        Answering Paragraph 7, Defendant denies the allegations.

         8.        Answering Paragraph 8, Defendant avers that no allegations of fact

are made and no response is required. To the extent Paragraph 8 is construed to

include any factual allegations, they are denied.

         9.        Answering Paragraph 9, Defendant denies the allegations.

         10.       Answering Paragraph 10, Defendant denies the allegations.

                                FACTUAL ALLEGATIONS
                                         Drew Dixon
         11.       Answering Paragraph 11, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         12.       Answering Paragraph 12, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         13.       Answering Paragraph 13, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         14.       Answering Paragraph 14, Defendant lacks sufficient information,

belief, and/or recollection on which to admit or deny the allegations, and on that

basis the allegations are denied.




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         15.       Answering Paragraph 15, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         16.       Answering Paragraph 16, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         17.       Answering Paragraph 17, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         18.       Answering Paragraph 18, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         19.       Answering Paragraph 19, Defendant admits that Plaintiff was hired

and employed at Arista Records. Defendant lacks sufficient information and belief

on which to admit or deny the remaining allegations in Paragraph 19, and on that

basis the allegations are denied.

         20.       Answering Paragraph 20, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.




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         21.       Answering Paragraph 21, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         22.       Answering Paragraph 22, Defendant admits that, to the best of his

recollection, he met Plaintiff before he began working at Arista. Defendant lacks

sufficient information, belief, and/or recollection on which to admit or deny the

remaining allegations in Paragraph 22, and on that basis the allegations are denied.

         23.       Answering Paragraph 23, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         24.       Answering Paragraph 24, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

                                          L.A. Reid
         25.       Answering Paragraph 25, Defendant admits the allegations.

         26.       Answering Paragraph 26, Defendant denies that LaFace Records

produced records for Mariah Carey, Rihanna, and Avril Lavigne. Defendant admits

the remaining allegations in Paragraph 26.

         27.       Answering Paragraph 27, Defendant admits that LaFace was acquired

by Arista Records. Defendant admits the remaining allegations in Paragraph 27.




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         28.       Answering Paragraph 28, Defendant lacks sufficient information and

recollection on which to admit or deny the allegation that Sony and BMG merged

in 2004, and on that basis the allegation is denied. Defendant admits that left Arista

in or about 2003 or 2004. Defendant denies any remaining allegations in Paragraph

28.

         29.       Answering Paragraph 29, Defendant admits the allegations.

         30.       Answering Paragraph 30, Defendant denies that he is credited as a

songwriter on “We Belong Together.” Defendant admits the remaining allegations

in Paragraph 30.

         31.       Answering Paragraph 31, Defendant admits the allegations.

         32.       Answering Paragraph 32, Defendant admits the allegations.

         33.       Answering Paragraph 33, Defendant admits that he wrote and

published the book Sing to Me. Defendant admits that he has worked closely with

Kanye West. Defendant denies the remaining allegations in Paragraph 33.

         34.       Answering Paragraph 34, Defendant admits that he left his position at

Epic Records sometime after an allegation of misconduct was made. Defendant

admits that Hitco Entertainment sold its assets and recording contracts to Concord

Music Group in 2022. Defendant denies the remaining allegations in Paragraph 34.

         35.       Answering Paragraph 35, Defendant admits that he sold the

publishing and writer’s share of income for a catalogue of music to Hipgnosis.

Defendant denies the remaining allegations in Paragraph 35.


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         36.       Answering Paragraph 36, Defendant admits that he has worked with a

company called Gamma in connection with a new album by Usher. Defendant

denies he has an ownership stake in Gamma. Defendant lacks sufficient

information and belief on which to admit or deny the remaining allegations in

Paragraph 36, and on that basis the allegations are denied.

         37.       Answering Paragraph 37, Defendant denies the allegations.

                       Mr. Reid’s [Alleged] First Assault On Ms. Dixon
         38.       Answering Paragraph 38, Defendant denies the allegation.

         39.       Answering Paragraph 39, Defendant denies the allegation.

         40.       Answering Paragraph 40, Defendant denies the allegations.

         41.       Answering Paragraph 41, Defendant denies the allegations.

         42.       Answering Paragraph 42, Defendant admits that Arista held a retreat

in Puerto Rico in or about January 2001. Defendant lacks sufficient information

and belief on which to admit or deny the remaining allegations in Paragraph 42,

and on that basis the allegations are denied.

         43.       Answering Paragraph 43, Defendant denies the allegations.

         44.       Answering Paragraph 44, Defendant lacks sufficient information,

belief, and/or recollection on which to admit or deny the allegations, and on that

basis the allegations are denied.




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                       Mr. Reid’s Second [Alleged] Assault on Ms. Dixon

         45.       Answering Paragraph 45, Defendant denies that he made “overtures”

toward Plaintiff. Defendant lacks sufficient information and belief on which to

admit or deny the remaining allegations in Paragraph 45, and on that basis the

allegations are denied.

         46.       Answering Paragraph 46, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         47.       Answering Paragraph 47, Defendant denies the allegations.

         48.       Answering Paragraph 48, Defendant denies the allegations.

         49.       Answering Paragraph 49, Defendant denies the allegations.

         50.       Answering Paragraph 50, Defendant denies the allegations.

         51.       Answering Paragraph 51, Defendant denies that he assaulted or

harassed Plaintiff. Defendant lacks sufficient information and belief on which to

admit or deny the remaining allegations in Paragraph 51, and on that basis the

allegations are denied.

                 [Alleged] Ongoing Sexual Harassment and Career Sabotage
         52.       Answering Paragraph 52, Defendant denies the allegations.

         53.       Answering Paragraph 53, Defendant denies the allegations.

         54.       Answering Paragraph 54, Defendant denies the allegations.




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         55.       Answering Paragraph 55, Defendant admits he passed on Kanye West

at Arista. Defendant denies the remaining allegations in Paragraph 55.

         56.       Answering Paragraph 56, Defendant lacks sufficient information,

belief, and/or recollection on which to admit or deny the allegations, and on that

basis the allegations are denied.

         57.       Answering Paragraph 57, Defendant denies that he stifled Plaintiff’s

career, defines that he sexually pressured Plaintiff, and denies that he punished

Plaintiff “for rejecting his sexual pressures.” Defendant lacks sufficient

information and belief on which to admit or deny the remaining allegations in

Paragraph 57, and on that basis the allegations are denied.

                         [Alleged] Long-Term Impact On Ms. Dixon
         58.       Answering Paragraph 58, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         59.       Answering Paragraph 59, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         60.       Answering Paragraph 60, Defendant denies that he abused Plaintiff or

made inappropriate advances toward her. Defendant lacks sufficient information

and belief on which to admit or deny the remaining allegations in Paragraph 60,

and on that basis the allegations are denied.


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         61.       Answering Paragraph 61, Defendant denies he assaulted Plaintiff.

Defendant lacks sufficient information, belief, and/or recollection on which to

admit or deny the remaining allegations in Paragraph 61 and on that basis the

allegations are denied.

         62.       Answering Paragraph 62, Defendant denies that he assaulted or

harassed Plaintiff and denies she is suffering ongoing effects from anything he did.

Defendant lacks sufficient information and belief on which to admit or deny the

remaining allegations in Paragraph 62, and on that basis the allegations are denied.

         63.       Answering Paragraph 63, Defendant denies he made sexual demands

upon Plaintiff and denies he has punished her for refusing to submit to purported

sexual demands. Defendant lacks sufficient information and belief on which to

admit or deny the remaining allegations in Paragraph 63, and on that basis the

allegations are denied.

                                         Going Public
         64.       Answering Paragraph 64, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         65.       Answering Paragraph 34, Defendant admits that he left his position at

Epic Records sometime after an allegation of misconduct was made. Defendant

denies the remaining allegations in Paragraph 65.




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         66.       Answering Paragraph 66, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         67.       Answering Paragraph 67, Defendant lacks sufficient information and

belief on which to admit or deny the allegations, and on that basis the allegations

are denied.

         68.       Answering Paragraph 68, Defendant denies that he assaulted or

harassed Plaintiff. Defendant lacks sufficient information and belief on which to

admit or deny the remaining allegations, and on that basis the allegations are

denied.

         69.       Answering Paragraph 69, Defendant denies that he and a previous

employer settled sexual harassment complaints brought by one or more female

employees. Defendant lacks sufficient information and belief on which to admit or

deny the remaining allegations in Paragraph 69, and on that basis the allegations

are denied.

                                         Aftermath
         70.       Answering Paragraph 70, Defendant denies that he assaulted or

harassed Plaintiff or made sexual advances toward her. Defendant denies that

Plaintiff’s experiences with him caused her to give up her career. Defendant lacks

sufficient information and belief on which to admit or deny the remaining

allegations in Paragraph 70, and on that basis the allegations are denied.


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         71.       Answering Paragraph 71, Defendant denies the allegations.

         72.       Answering Paragraph 72, Defendant denies he attempted to have a

sexual relationship with Plaintiff or assaulted her, and denies he suffocated

Plaintiff’s career as punishment. Defendant lacks sufficient information and belief

on which to admit or deny the remaining allegations in Paragraph 72, and on that

basis the allegations are denied.

         73.       Answering Paragraph 73, Defendant denies the allegations.

         74.       Answering Paragraph 74, Defendant denies the allegations.

         75.       Answering Paragraph 75, Defendant denies he assaulted Plaintiff or

was treated for trauma associated with any purported assaults by Defendant.

Defendant lacks sufficient information and belief on which to admit or deny the

remaining allegations in Paragraph 75, and on that basis the allegations are denied.

         76.       Answering Paragraph 76, Defendant denies the allegations.

         77.       Answering Paragraph 77, Defendant denies the allegations.

                               New York Adult Survivors Act

         78.       Answering Paragraph 78, Defendant denies the allegations.

                                         COUNT 1

                                  (Sexual Battery/Assault)

         79.       Answering Paragraph 79, Defendant incorporates his responses to the

preceding allegations as though fully set forth herein.

         80.       Answering Paragraph 80, Defendant denies the allegations.


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         81.       Answering Paragraph 81, Defendant denies the allegations.

         82.       Answering Paragraph 82, Defendant denies the allegations.

                                         COUNT 2
                                   (False Imprisonment)

         83.       Answering Paragraph 83, Defendant incorporates his responses to the

preceding allegations as though fully set forth herein.

         84.       Answering Paragraph 84, Defendant denies the allegations.

         85.       Answering Paragraph 85, Defendant denies the allegations.

         86.       Answering Paragraph 86, Defendant denies the allegations.

                                         COUNT 3

                       (Intentional Infliction of Emotional Distress)
         87.       Answering Paragraph 87, Defendant incorporates his responses to the

preceding allegations as though fully set forth herein.

         88.       Answering Paragraph 88, Defendant denies the allegations.

         89.       Answering Paragraph 89, Defendant denies the allegations.

         90.       Answering Paragraph 90, Defendant denies the allegations.

         91.       Answering Paragraph 91, Defendant denies the allegations.

                                        COUNT IV

                             (Gender Motivated Violence Act)
         92.       Answering Paragraph 92, Defendant incorporates his responses to the

preceding allegations as though fully set forth herein.

         93.       Answering Paragraph 93, Defendant denies the allegations.

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         94.       Answering Paragraph 94, Defendant avers that Paragraph 94 is blank

and contains no allegations. Defendant denies all allegations relating to Count IV.

         95.       Answering Paragraph 95, Defendant denies the allegations.

         96.       Answering Paragraph 96, Defendant denies the allegations.

         97.       Answering Paragraph 97, Defendant denies the allegations.

         98.       Answering Paragraph 98, Defendant denies the allegations.

                                AFFIRMATIVE DEFENSES
                                  First Affirmative Defense

                                   (Statute of Limitations)
         99.       Plaintiff’s claims, and/or Plaintiff’s demands for particular monetary

relief, are barred in whole or part by the applicable statutes of limitation.

                                 Second Affirmative Defense
                            (Superseding Or Intervening Cause)
         100. Plaintiff’s claims are barred in whole or part on the basis that the harm

she alleges to have suffered resulted from the conduct of third parties.

                                  Third Affirmative Defense
                                    (Failure To Mitigate)

         101. Plaintiff’s claims and/or demands for monetary relief are barred in

whole or part on the basis that Plaintiff failed to mitigate her damages.

                                 Fourth Affirmative Defense
                                     (Laches and Waiver)
         102. Plaintiff’s claims are barred under the doctrines of laches and waiver.


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                                  PRAYER FOR RELIEF

         WHEREFORE Defendant prays for judgment as follows:

         1.        That Plaintiff take nothing by way of the Complaint, and that her

claims be dismissed with prejudice;

         2.        For an award of attorneys’ fees and costs; and

         3.        For such other and further relief as the Court may deem just and

proper.


DATED: August 27, 2024                Respectfully submitted,

                                      By:         /s/ Shawn Holley
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